       Case 1-18-47178-nhl               Doc 22       Filed 04/02/19    Entered 04/02/19 20:51:12

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK (BROOKLYN)
---------------------------------------------------------x
In re:                                                                 Chapter 7

RAMLA BIBI                                                             Case No. 18-47178-nhl



                                                 Debtor(s)
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                           LOSS MITIGATION REQUEST - BY DEBTORS

      I am the Debtor in this case. I hereby request to enter into the Loss Mitigation Program
with respect to:
Property: 246-68 87th Avenue, Bellerose, NY 11426
Loan Number:XXXXXX0452
Creditor: Nationstar Mortgage LLC d/b/a Mr. Cooper
Creditors Address: 8950 Cypress Waters Blvd.
                     Coppell, TX 75019


SIGNATURE /s/ RAMLA BIBI

I understand that if the Court orders loss mitigation in this case, I will be expected to comply
with the Loss Mitigation Procedures. I agree to comply with the Loss Mitigation Procedures, and
I will participate in the Loss Mitigation Program in good faith. I understand that loss mitigation
is voluntary for all parties, and that I am not required to enter into any agreement or settlement
with any other party as part of entry into the Loss Mitigation Program. I also understand that no
other party is required to enter into any agreement or settlement with me. I understand that I am
not required to request dismissal of this case as part of any resolution or settlement that is
offered or agreed to during the Loss Mitigation Period.
/s/ RAMLA BIBI
RAMLA BIBI

Date: April 2, 2019




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Case 1-18-47178-nhl   Doc 22   Filed 04/02/19   Entered 04/02/19 20:51:12




         EXHIBIT A: PROPOSED LOSS MITIGATION ORDER




                                                                            2
       Case 1-18-47178-nhl               Doc 22       Filed 04/02/19    Entered 04/02/19 20:51:12

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK (BROOKLYN)
---------------------------------------------------------x
In re:                                                                 Chapter 7

RAMLA BIBI                                                             Case No. 18-47178-nhl



                                                 Debtor(s)
----------------------------------------------------------x

                                         LOSS-MITIGATION ORDER

         A Loss Mitigation Request was filed by the debtor on April 2, 2019.

         Upon the foregoing, it is herby

        ORDERED, that the following parties (the “Loss Mitigation Parties”) are directed to
participate in the Loss Mitigation Program:

              1. The Debtor
              2. NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER the Creditor with
                 respect to loan number xxxxxx0452 for property at 246-68 87th Avenue,
                 Bellerose, NY 11426

         It is further:

      ORDERED, that the Loss Mitigation Parties shall comply with the Loss Mitigation
Procedures annexed to this Order; and it is further

         ORDERED, that the Loss Mitigation Parties shall observe the following deadlines:

       1.     Each Loss Mitigation Party shall designate contact persons and disclose contact
information within 7 days of the date of this order, unless this information has been previously
provided. As part of this obligation, a Creditor shall furnish each Loss Mitigation Party with
written notice of the name, address and direct telephone number of the person who has full
settlement authority.

       2.     Each Creditor that is a Loss Mitigation Party shall contact the Debtor within 14
days of the date of this Order.

        3.      Each Loss Mitigation Party shall make its request for information and documents,
if any, within 14 days of the date of this Order.




                                                                                                    3
      Case 1-18-47178-nhl        Doc 22     Filed 04/02/19     Entered 04/02/19 20:51:12

       4.     Each Loss Mitigation Party shall respond to a request for information and
documents within 14 days after a request is made, or 7 days prior to the Loss Mitigation
Session, whichever is earlier.

      5.    The Loss Mitigation             Session    shall   be   scheduled    not    later   than
________________________.

       6.     The Loss Mitigation Period shall terminate on_______________________, unless
extended as provided in the Loss Mitigation Procedures.

         It is further ORDERED, that a status conference will be held in this case on April ___,
2019 (the “Status Conference”). The Loss Mitigation Parties shall appear at the Status
Conference and provide the Court with an oral Status Report unless a written Status Report that
is satisfactory to the Court has been filed not later than 7 days prior to the date of the Status
Conference and requests that the Status Conference be adjourned or cancelled, and it is further

       ORDERED, that at the Status Conference, the Court may consider a Settlement reached
by the Loss Mitigation Parties, or may adjourn the Status Conference if necessary to allow for
adequate notice of a request for approval of a Settlement; and it is further

         ORDERED, that any matters that are currently pending between the Loss Mitigation
Parties (such as motions or applications, and any objection, opposition or response thereto) are
hereby adjourned to the date of the Status Conference to the extent those matters concern (1)
relief from the automatic stay, (2) objection to the allowance of a proof of claim, (3) reduction,
reclassification or avoidance of a lien, (4) valuation of a Loan or Property, or (5) objection to
confirmation of a plan of reorganization; and it is further.

        ORDERED, that the time for each Creditor that is a Loss Mitigation Party in this case to
file an objection to a plan of reorganization in this case shall be extended until 14 days after the
termination of the Loss Mitigation Period, including any extension of the Loss Mitigation Period.

Dated: Brooklyn, New York
       April __, 2019                                 BY THE COURT

                                                      ___________________________________
                                                      United States Bankruptcy Judge




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       Case 1-18-47178-nhl               Doc 22       Filed 04/02/19    Entered 04/02/19 20:51:12

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK (BROOKLYN)
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In re:                                                                 Chapter 7

RAMLA BIBI                                                             Case No. 18-47178-nhl



                                                 Debtor(s)
----------------------------------------------------------x

                                        CERTIFICATE OF SERVICE

I hereby certify that on April 2, 2019, I caused the following documents to be served upon all
parties as listed below:

                  LOSS MITIGATION REQUEST (NATIONSTAR MORTGAGE LLC D/B/A
                   MR. COOPER) – BY DEBTOR
                  PROPOSED ORDER OF LOSS MITIGATION


        I further certify that on April 2, 2019, I caused a true, complete and correct copy of the
Proceeding to be served via first class mail, postage prepaid and / or electronic mail, upon the
parties listed below.

                            Nationstar Mortgage LLC d/b/a Mr. Cooper Corporate Center
                            8950 Cypress Waters Blvd.
                            Coppell, TX 75019



Date: Forest Hills, New York
      April 2, 2019
                                                                                        /s/Ehsanul Habib
                                                                                     EHSANUL HABIB
                                                                   LAW OFFICE OF EHSANUL HABIB
                                                               118-21 Queens Blvd. Suite 603, NY, 11375
                                                                  Tel: 718-520-0155 | Fax: 718-520-0155
                                                                          Email: ehsanulhbb@yahoo.com
                                                                                   Counsel for the Debtor




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